                                         UNITED STATES BANKRUPTCY COURT
                                                DISTRICT OF ARIZONA
                                                 PHOENIX DIVISION

      In re: LEVINE, JOSH D.                                §      Case No. 2:19-bk-10058-BKM
                                                            §
                                                            §
                                                            §
                   Debtor(s)


                               CHAPTER 7 TRUSTEE’S FINAL ACCOUNT AND DISTRIBUTION
                               REPORT CERTIFICATION THAT THE ESTATE HAS BEEN FULLY
                               ADMINISTERED AND APPLICATION TO BE DISCHARGED (TDR)




             David A. Birdsell, chapter 7 trustee, submits this Final Account, Certification that the Estate has been
     Fully Administered and Application to be Discharged.

              1) All funds on hand have been distributed in accordance with the Trustee’s Final Report and, if
     applicable, any order of the Court modifying the Final Report. The case is fully administered and all assets and
     funds which have come under the trustee’s control in this case have been properly accounted for as provided
     by law. The trustee hereby requests to be discharged from further duties as a trustee.

              2) A summary of assets abandoned, assets exempt, total distributions to claimants, claims discharged
     without payment, and expenses of administration is provided below:



     Assets Abandoned:    $478,651.53                             Assets Exempt:      $233,591.53
     (without deducting any secured claims)

     Total Distributions to Claimants:   $768,449.67              Claims Discharged
                                                                  Without Payment:      $900,694.05


     Total Expenses of Administration:    $51,999.16




               3) Total gross receipts of $820,448.83 (see Exhibit 1), minus funds paid to the debtor and third
     parties of $0.00 (see Exhibit 2), yielded net receipts of $820,448.83 from the liquidation of the property of the
     estate, which was distributed as follows:




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                                               CLAIMS               CLAIMS                CLAIMS                CLAIMS
                                             SCHEDULED             ASSERTED              ALLOWED                 PAID


   SECURED CLAIMS (from
   Exhibit 3)                                  $1,167,809.77          $772,033.77          $772,033.77          $768,449.67
   PRIORITY CLAIMS:
   CHAPTER 7 ADMIN. FEES AND
   CHARGES (from Exhibit 4)
                                                       $0.00          $115,343.85          $115,343.85           $51,999.16


   PRIOR CHAPTER ADMIN.
   FEES AND CHARGES (from
   Exhibit 5)                                          $0.00                $0.00                $0.00                 $0.00

   PRIORITY UNSECURED CLAIMS
   (from Exhibit 6)                                    $0.00           $40,308.00           $40,308.00                 $0.00

   GENERAL UNSECURED CLAIMS
   (from Exhibit 7)                              $550,000.00          $900,694.05          $900,694.05                 $0.00


   TOTAL DISBURSEMENTS                         $1,717,809.77        $1,828,379.67        $1,828,379.67          $820,448.83




                 4) This case was originally filed under chapter 7 on 08/12/2019. The case was pending for 33
      months.

                 5) All estate bank statements, deposit slips, and canceled checks have been submitted to the United States
      Trustee.

               6) An individual estate property record and report showing the final accounting of the assets of the estate is
      attached as Exhibit 8. The cash receipts and disbursements records for each estate bank account, showing the final
      accounting of the receipts and disbursements of estate funds is attached as Exhibit 9.

               Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the foregoing report is true
      and correct.




      Dated:        05/03/2022                        By: /s/ David A. Birdsell
                                                                           Trustee




      STATEMENT This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork
      Reduction Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




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                                                                    EXHIBITS TO
                                                                  FINAL ACCOUNT

EXHIBIT 1 – GROSS RECEIPTS

                                                                                              UNIFORM                     $ AMOUNT
     DESCRIPTION
                                                                                             TRAN. CODE1                  RECEIVED

 2018 TAX REFUND; 2019 TAX REFUND: FEDERAL AND STATE                                            1124-000                      $1,646.00

 VOLTAIRE SHEA LLC ASSET: 6101 EAST VOLTAIRE AVENUE,                                            1129-000                    $810,000.00
 SCOTTSDALE, AZ 85254, VALUED AT $840,000 LIABILTIES: DEEDS OF
 TRUST
 FORFEITED FUNDS FOR SALE                                                                       1229-000                          $0.00

 POSINELLI REFUND                                                                               1229-000                      $6,251.50

 Western Bank Impounds-Prepaid                                                                  1290-000                      $2,551.33

                             TOTAL GROSS RECEIPTS                                                                           $820,448.83

 1
  The Uniform Transaction Code is an accounting code assigned by the trustee for statistical reporting purposes.




EXHIBIT 2 – FUNDS PAID TO DEBTOR & THIRD PARTIES

                                                                                                    UNIFORM         $ AMOUNT
                 PAYEE                                      DESCRIPTION
                                                                                                   TRAN. CODE          PAID

                                                                          None




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EXHIBIT 3 - SECURED CLAIMS



                                     UNIFORM        CLAIMS
    Claim                                                              CLAIMS         CLAIMS          CLAIMS
                CLAIMANT              TRAN.       SCHEDULED
     NO.                                                              ASSERTED       ALLOWED           PAID
                                      CODE      (from Form 6D)


               BNC National Bank     4110-000                 NA      $217,606.67    $217,606.67    $217,606.67

               WESTERN STATE         4110-000                 NA      $550,843.00    $550,843.00    $550,843.00
               BANK
     7S        CHERYL SCHNEIDER      4110-000                 NA        $3,584.10      $3,584.10           $0.00

     N/F       BNC National Bank     4110-000        $245,822.53              NA             NA              NA

     N/F       Wells Fargo Hm        4110-000        $357,061.00              NA             NA              NA
               Mortgag
     N/F       Western States Bank   4110-000        $564,926.24              NA             NA              NA

                 TOTAL SECURED                      $1,167,809.77     $772,033.77    $772,033.77    $768,449.67




EXHIBIT 4 – CHAPTER 7 ADMINISTRATIVE FEES and CHARGES


                                     UNIFORM       CLAIMS              CLAIMS         CLAIMS          CLAIMS
   PAYEE                              TRAN.      SCHEDULED            ASSERTED       ALLOWED           PAID
                                      CODE

 Trustee, Fees - David A. Birdsell   2100-000                 NA        $44,272.44    $44,272.44     $16,092.92

 Trustee, Expenses - David A.        2200-000                 NA          $277.50        $277.50       $277.50
 Birdsell
 Auctioneer Fees - DONNA WYATT       3610-000                 NA           $30.00         $30.00          $30.00

 Charges, U.S. Bankruptcy Court      2700-000                 NA          $350.00        $350.00       $350.00

 Costs re Sale of Property - SHEA    2500-000                 NA         $7,738.00     $7,738.00      $7,738.00
 ESTATES ASSISTED LIVING LLC
 Banking and Technology Service      2600-000                 NA         $1,070.12     $1,070.12      $1,070.12
 Fee - Metropolitan Commercial
 Bank
 Other State or Local Taxes (post-   2820-000                 NA         $2,613.66     $2,613.66      $2,613.66
 petition) - MARICOPA COUNTY
 TREASURER
 Attorney for Trustee Fees (Other    3210-000                 NA        $55,247.50    $55,247.50     $20,082.33
 Firm) - WITTHOFT DERKSEN
 Attorney for Trustee Expenses       3220-000                 NA         $3,744.63     $3,744.63      $3,744.63
 (Other Firm) - WITTHOFT
 DERKSEN
 TOTAL CHAPTER 7 ADMIN. FEES
                                                              NA       $115,343.85   $115,343.85     $51,999.16
        AND CHARGES



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EXHIBIT 5 – PRIOR CHAPTER ADMINISTRATIVE FEES and CHARGES

                         UNIFORM         CLAIMS              CLAIMS              CLAIMS               CLAIMS
         PAYEE
                        TRAN. CODE     SCHEDULED            ASSERTED            ALLOWED                PAID

                                                    None




EXHIBIT 6 – PRIORITY UNSECURED CLAIMS


                                                                  CLAIMS
                                UNIFORM        CLAIMS
                                                                 ASSERTED             CLAIMS              CLAIMS
 CLAIM NO.       CLAIMANT        TRAN.      SCHEDULED
                                                              (from Proofs of        ALLOWED               PAID
                                 CODE      (from Form 6E)
                                                                   Claim)

    3P       CHRISTOPHER        5800-000               NA           $13,650.00        $13,650.00               $0.00
             FORD, ESQ.

    4P       JEREMY ROVINSKY    5800-000               NA           $13,650.00        $13,650.00               $0.00


    5P       JEREMY ROVINSKY    5800-000               NA              $3,025.00          $3,025.00            $0.00


     8       MICHAEL J. MILLS   5800-000               NA              $9,983.00          $9,983.00            $0.00


          TOTAL PRIORITY
         UNSECURED CLAIMS                            $0.00          $40,308.00        $40,308.00               $0.00




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EXHIBIT 7 – GENERAL UNSECURED CLAIMS


                                                                 CLAIMS
                                UNIFORM        CLAIMS
                                                                ASSERTED         CLAIMS          CLAIMS
 CLAIM NO.       CLAIMANT        TRAN.      SCHEDULED
                                                             (from Proofs of    ALLOWED           PAID
                                 CODE      (from Form 6F)
                                                                  Claim)

     1       JOSH LEVINE        7100-000               NA               $0.00         $0.00           $0.00


     2       JOSH D. LEVINE     7100-000               NA               $0.00         $0.00           $0.00


    3U       CHRISTOPHER        7400-000               NA           $1,122.09     $1,122.09           $0.00
             FORD, ESQ.

    4U       JEREMY ROVINSKY    7400-000               NA          $13,489.40    $13,489.40           $0.00


    5U       JEREMY ROVINSKY    7400-000               NA          $24,114.40    $24,114.40           $0.00


     6       RICHARD J.         7100-000               NA          $11,370.00    $11,370.00           $0.00
             LIEBERMAN

    7U       CHERYL SCHNEIDER   7400-000               NA             $306.80      $306.80            $0.00


     9       GLEN L BOWERS      7100-000               NA               $0.00         $0.00           $0.00


    10       LEONA J ROBLES     7100-000               NA           $9,837.80     $9,837.80           $0.00


    11       SECOND WIND        7100-000       $550,000.00        $560,500.00   $560,500.00           $0.00
             ENTERPRISES, LLC

    12       CYNTHIA RICHMOND   7100-000               NA           $1,092.00     $1,092.00           $0.00


    13       LILA J.            7100-000               NA           $6,000.00     $6,000.00           $0.00
             HOCKENBERRY

    14       DISCOVER BANK      7100-000               NA          $15,460.82    $15,460.82           $0.00


    15       LORRAINE EFUNE     7100-000               NA           $1,019.00     $1,019.00           $0.00


    16       HOWARD DOUGLAS     7100-000               NA             $340.00      $340.00            $0.00
             CAMPBELL JR

    17       BMW FINANCIAL      7100-000               NA          $10,242.82    $10,242.82           $0.00
             SERVICES ATTN:
             CUSTOMER
             ACCOUNTING

    18       WELLS FARGO        7100-000               NA           $8,666.04     $8,666.04           $0.00
             BANK, N.A.

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    19     SUSAN SACKETT      7100-000               NA          $313.50       $313.50            $0.00


    20     GIL HACOHEN        7100-000               NA          $812.00       $812.00            $0.00


    21     JPMORGAN CHASE     7100-000               NA         $3,115.78     $3,115.78           $0.00
           BANK, N.A.

    22     CITIBANK, N.A.     7100-000               NA         $2,915.16     $2,915.16           $0.00


    23     JPMORGAN CHASE     7100-000               NA        $10,052.43    $10,052.43           $0.00
           BANK, N.A.

    24     CITIBANK, N.A.     7100-000               NA        $13,353.78    $13,353.78           $0.00


    25     KABBAGE, INC.      7100-000               NA        $90,475.64    $90,475.64           $0.00


    26     JOHN MOLLERUS      7100-000               NA          $325.65       $325.65            $0.00


    27     U.S. BANK NA DBA   7100-000               NA         $6,180.42     $6,180.42           $0.00
           ELAN FINANCIAL
           SERVICES

    28     PAMELA EHLERS      7100-000               NA          $746.10       $746.10            $0.00


    29     CITIBANK, N.A.     7100-000               NA         $2,523.89     $2,523.89           $0.00


    30     AMERICAN EXPRESS   7100-000               NA        $53,694.58    $53,694.58           $0.00
           NATIONAL BANK

    31     NAVITAS CREDIT     7100-000               NA        $44,084.25    $44,084.25           $0.00
           CORP.

    32     SYNCHRONY BANK     7100-000               NA          $632.20       $632.20            $0.00


    33     JEAN QUENZLER      7100-000               NA          $374.00       $374.00            $0.00


    34     JULIAN BURGOIN     7100-000               NA         $7,533.50     $7,533.50           $0.00


          TOTAL GENERAL
         UNSECURED CLAIMS                    $550,000.00      $900,694.05   $900,694.05           $0.00




       Case
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                                                                                                                                                             Exhibit 8
                                           Individual Estate Property Record and Report                                                                      Page: 1

                                                            Asset Cases
Case No.:    2:19-bk-10058-BKM                                                                     Trustee Name:       (240206) David A. Birdsell
Case Name:         LEVINE, JOSH D.                                                                 Date Filed (f) or Converted (c): 08/12/2019 (f)
                                                                                                   § 341(a) Meeting Date:        09/17/2019
For Period Ending:         05/03/2022                                                              Claims Bar Date:       12/01/2021

                                      1                                    2                      3                       4                   5                   6

                           Asset Description                            Petition/         Estimated Net Value      Property Formally     Sale/Funds          Asset Fully
                (Scheduled And Unscheduled (u) Property)              Unscheduled        (Value Determined By         Abandoned        Received by the    Administered (FA)/
                                                                         Values                 Trustee,              OA=§554(a)           Estate          Gross Value of
                                                                                        Less Liens, Exemptions,        abandon.                           Remaining Assets
  Ref. #                                                                                   and Other Costs)

    1       4362 EAST LUDLOW DRIVE, PHOENIX,                            397,135.00                         0.00                                    0.00                        FA
            AZ 85032-0000, MARICOPA COUNTY
            Single-family home. Entire property value: $397,135.00

    2       2015 BMW 3 SERIES, 25,000 MILES                                      0.00                      0.00                                    0.00                        FA
            ** prior to marriage. Payments are made by wife's
            father.. Entire property value: $0.00

    3       HOUSEHOLD GOODS AND                                            1,675.00                        0.00                                    0.00                        FA
            FURNISHINGS LOCATION: 4362 EAST
            LUDLOW DRIVE, PHOENIX AZ 85032
            KITCHEN: STOVE-100
            REFRIGERATOR -150 POTS/PANS - 50
            DISHES - 50 SILVERWARE - 25 SMALL
            APPLIANCES -100 DINING ROOM:
            HUTCH - 50 FLOOR FAN - 50 VACUUM
            - 75 LIVING ROOM: COUCH - 200

    4       BOOKS                                                              200.00                      0.00                                    0.00                        FA

    5       ELECTRONICS LIVING ROOM:                                           900.00                      0.00                                    0.00                        FA
            TELEVISION SET - 200 SOUND BAR -
            50 MASTER BEDROOM: TELEVISION
            SET-150 OTHER BEDROOMS:
            TELEVISION SET-100
            MISCELLANEOUS: HOME COMPUTER
            SYSTEM - 200 TECH 21 AMP AND
            MICROPHONES - 200

    6       HILARIO G PAINTING - 200 SMALL                                 1,250.00                        0.00                                    0.00                        FA
            MARBLE DOG STATUE -100 LAYNOR
            PAINTING (CARROTS) -100 LAYNOR
            PAINTING (MIXED) -100 WOOD VASE -
            50 THEATRE DRAWING -100
            CONTEMPORARY PAINTING -200
            LAYNOR PAINTING -100 ART POSTER
            PRINT -50 LAYNOR PAINTING (BIRDS)
            - 50 KNICK KNACKS - 200

    7       MUSICAL INSTRUMENTS - GUITARS 2                                    600.00                      0.00                                    0.00                        FA
            (ONE IS $400; SECOND IS $200)

    8       SMITH & WESSON .38 REVOLVER                                        300.00                      0.00                                    0.00                        FA
            WITH AMMUNITION

    9       CLOTHES                                                            500.00                      0.00                                    0.00                        FA

   10       WEDDING BAND                                                       250.00                      0.00                                    0.00                        FA

   11       IWATCH                                                             200.00                      0.00                                    0.00                        FA

   12       WATCH                                                               50.00                      0.00                                    0.00                        FA

   13       CASH                                                               419.00                      0.00                                    0.00                        FA

   14       CHECKING (X7700): WELLS FARGO                                       86.22                      0.00                                    0.00                        FA
            BANK, N.A.

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                                                       Asset Cases
Case No.:    2:19-bk-10058-BKM                                                        Trustee Name:       (240206) David A. Birdsell
Case Name:       LEVINE, JOSH D.                                                      Date Filed (f) or Converted (c): 08/12/2019 (f)
                                                                                      § 341(a) Meeting Date:        09/17/2019
For Period Ending:      05/03/2022                                                    Claims Bar Date:       12/01/2021

                                  1                             2                    3                       4                   5                   6

                          Asset Description                  Petition/       Estimated Net Value      Property Formally     Sale/Funds          Asset Fully
               (Scheduled And Unscheduled (u) Property)    Unscheduled      (Value Determined By         Abandoned        Received by the    Administered (FA)/
                                                              Values               Trustee,              OA=§554(a)           Estate          Gross Value of
                                                                           Less Liens, Exemptions,        abandon.                           Remaining Assets
  Ref. #                                                                      and Other Costs)

   15       SAVINGS (X2932): WELLS FARGO                            0.00                      0.00                                    0.00                        FA
            BANK, N.A.

   16       CHECKING (X0758): CAPITAL ONE                           0.00                      0.00                                    0.00                        FA

   17       HSA ACCOUNT: UNITED HEALTH                          2,100.00                      0.00                                    0.00                        FA
            CARE HSA ACCOUNT

   18       J LEVINE AUCTION & APPRAISAL, LLC                       0.00                      0.00                                    0.00                        FA
            BUSINESS WAS IN A CHAPTER 11
            UNTIL RECENTLY. CONVERTED TO
            CHAPTER 7 WITH DINA ANDERSON
            AS TRUSTEE., 100% OWNERSHIP

   19       VOLTAIRE SHEA LLC ASSET: 6101                           0.00              810,000.00                              810,000.00                          FA
            EAST VOLTAIRE AVENUE,
            SCOTTSDALE, AZ 85254, VALUED AT
            $840,000 LIABILTIES: DEEDS OF
            TRUST AGAINS THE PROPERTY - 1ST
            -WESTERN STATES BANK
            $564,926.24; 2ND - BNC BANK 275,000;
            3RD - SECOND WIND ENTERPRISES
            $662,788.00 WESTERN STATES BANK
            ACCOUNT: $35.00 ON 8/8/2019
            LIABILITIES EXCEED ASSET -
            NEGATIVE VALUE ASSISTED LIVING
            FACILITY WHICH RENTS FACILITY
            AND RECEIVES $5,000 PER MONTH IN
            RENT. BNC SERVICES PAYMENT AND
            PAYS WESTERN STATES BANK THEIR
            FIRST POSITION PAYMENT OF
            APPRX. $4,500.00, THEN MAINTAINS
            THE REMAINING BALANCE TO
            OFFSET THEIR LOAN BALANCE.,
            100% OWNERSHIP

   20       JLAHUB, LLC ASSET: WELLS FARGO                          0.00                      0.00                                    0.00                        FA
            BANK BUSINESS CHECKING FOR
            JLAHUB, LLC (X0290) - $0.00 IN
            ACCOUNT 8/8/2019 COMPANY HAD A
            10% INTEREST IN 951 W WATKINS
            LLC AS PART OF THE LEASE
            UNDERSTANDING WITH LANDLORD.
            UPON DEFAULT, JLAHUB, LLC
            SIGNED A FOREBEARANCE
            AGREEMENT, 100% OWNERSHIP

   21       AZ ESTATE LIQUIDATORS, LLC                              0.00                      0.00                                    0.00                        FA
            OPENED BUT NEVER OPERATED. NO
            ASSETS OR RECEIVABLES. NO CASH
            VALUE., 100% OWNERSHIP

   22       IRA: RAYMOND JAMES                                23,292.50                       0.00                                    0.00                        FA

   23       2018 TAX REFUND; 2019 TAX                               0.00                 1,646.00                                1,646.00                         FA
            REFUND: FEDERAL AND STATE



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                                                           Form 1
                                                                                                                                                    Exhibit 8
                                       Individual Estate Property Record and Report                                                                 Page: 3

                                                        Asset Cases
Case No.:    2:19-bk-10058-BKM                                                          Trustee Name:       (240206) David A. Birdsell
Case Name:        LEVINE, JOSH D.                                                       Date Filed (f) or Converted (c): 08/12/2019 (f)
                                                                                        § 341(a) Meeting Date:        09/17/2019
For Period Ending:       05/03/2022                                                     Claims Bar Date:       12/01/2021

                                   1                             2                     3                       4                   5                     6

                           Asset Description                  Petition/        Estimated Net Value      Property Formally     Sale/Funds            Asset Fully
                (Scheduled And Unscheduled (u) Property)    Unscheduled       (Value Determined By         Abandoned        Received by the      Administered (FA)/
                                                               Values                Trustee,              OA=§554(a)           Estate            Gross Value of
                                                                             Less Liens, Exemptions,        abandon.                             Remaining Assets
  Ref. #                                                                        and Other Costs)

   24       WAGES AND COMMISSIONS                                4,454.81                       0.00                                    0.00                          FA
            ($2,600.96) AND HEALTHCARE
            CONTRIBUTION ($278.10) OWED TO
            DEBTOR BY J. LEVINE AUCTION &
            APPRAISAL, LLC EXPERT TESTIMONY
            FEE ($1575.75) FOR SERVICES
            PROVIDED IN JULY 2019

   25       BANNER LIFE INSURANCE COMPANY                            0.00                       0.00                                    0.00                          FA
            TERM LIFE POLICY-NO CASH VALUE
            POLICY AMOUNT $650,000.00: BNC
            BANK AND CHELSEA WISE

   26       LOANS TO J. LEVINE AUCTION &                       45,239.00                        0.00                                    0.00                          FA
            APPRAISAL, LLC - UNSECURED CLAIM
            IN J. LEVINE AUCTION AND
            APPRAISAL, LLC

   27       POSINELLI REFUND (u)                                 6,251.50                  6,251.50                                6,251.50                           FA

   28       FORFEITED FUNDS FOR SALE (u)                             0.00                       0.00                                    0.00                          FA

   29       Western Bank Impounds-Prepaid (u)                        0.00                  2,551.33                                2,551.33                           FA

   29       Assets Totals (Excluding unknown values)         $484,903.03               $820,448.83                            $820,448.83                       $0.00



 Major Activities Affecting Case Closing:

                                TRUSTEE'S FINAL REPORT APPROVED ON 3/16/22


 Initial Projected Date Of Final Report (TFR): 12/31/2021                    Current Projected Date Of Final Report (TFR):             03/03/2022 (Actual)




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                                                             Form 2                                                                                     Exhibit 9
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                                             Cash Receipts And Disbursements Record
Case No.:              2:19-bk-10058-BKM                               Trustee Name:                          David A. Birdsell (240206)
Case Name:             LEVINE, JOSH D.                                 Bank Name:                             Metropolitan Commercial Bank
Taxpayer ID #:         **-***1273                                      Account #:                             ******4040 Checking
For Period Ending:     05/03/2022                                      Blanket Bond (per case limit):         $27,456,481.00
                                                                       Separate Bond (if applicable):         N/A

    1            2                    3                                           4                                 5                       6                       7

  Trans.    Check or       Paid To / Received From        Description of Transaction            Uniform         Deposit               Disbursement        Account Balance
   Date      Ref. #                                                                            Tran. Code         $                         $

 01/12/20     {27}     POLSINELLI LAW                 RETAINER REFUND                          1229-000                 6,251.50                                         6,251.50
 03/08/20     {23}     US TREASURY                    2018 FEDERAL TAX REFUND                  1124-000                  659.00                                          6,910.50
 03/08/20     {23}     STATE OF AZ                    2018 STATE TAX REFUND                    1124-000                  987.00                                          7,897.50
 03/31/20              Metropolitan Commercial Bank   Bank and Technology Services             2600-000                                          6.31                    7,891.19
                                                      Fees
 04/27/20     {28}     PRESTIGE TITLE                 FOREITED FUNDS                           1229-000             10,000.00                                           17,891.19
 04/30/20              Metropolitan Commercial Bank   Bank and Technology Services             2600-000                                         13.67                   17,877.52
                                                      Fees
 05/29/20              Metropolitan Commercial Bank   Bank and Technology Services             2600-000                                         27.61                   17,849.91
                                                      Fees
 06/30/20              Metropolitan Commercial Bank   Bank and Technology Services             2600-000                                         30.43                   17,819.48
                                                      Fees
 07/31/20              Metropolitan Commercial Bank   Bank and Technology Services             2600-000                                         29.42                   17,790.06
                                                      Fees
 08/31/20              Metropolitan Commercial Bank   Bank and Technology Services             2600-000                                         27.48                   17,762.58
                                                      Fees
 09/30/20              Metropolitan Commercial Bank   Bank and Technology Services             2600-000                                         30.28                   17,732.30
                                                      Fees
 10/23/20              GREAT AMERICAN TITLE           SALE PROCEEDS                                                 23,750.00                                           41,482.30
                       WESTERN STATE BANK             ASSUMPTION FROM WESTERN                  4110-000
                                                      STATE BANK
                                                                            -$550,843.00
                       BNC National Bank              PAYOFF BNC BANK                          4110-000
                                                                            -$217,606.67
                       MARICOPA COUNTY                REAL ESTATE TAX                          2820-000
                       TREASURER
                                                                                  -$2,613.66
                       SHEA ESTATES ASSISTED          CLOSING COSTS                            2500-000
                       LIVING LLC
                                                                                  -$7,738.00
              {19}     GREAT AMERICAN TITLE           GROSS PROCEEDS FROM SALE                 1129-000
                                                                             $810,000.00
              {28}                                    Return of forfeited funds                1229-000
                                                                             -$10,000.00
              {29}                                    Western Bank Impounds                    1290-000
                                                                                  $2,551.33
 10/30/20              Metropolitan Commercial Bank   Bank and Technology Services             2600-000                                         37.19                   41,445.11
                                                      Fees
 11/30/20              Metropolitan Commercial Bank   Bank and Technology Services             2600-000                                         64.03                   41,381.08
                                                      Fees
 12/31/20              Metropolitan Commercial Bank   Bank and Technology Services             2600-000                                         72.76                   41,308.32
                                                      Fees
 01/29/21              Metropolitan Commercial Bank   Bank and Technology Services             2600-000                                         63.99                   41,244.33
                                                      Fees
 02/26/21              Metropolitan Commercial Bank   Bank and Technology Services             2600-000                                         61.69                   41,182.64
                                                      Fees
 03/31/21              Metropolitan Commercial Bank   Bank and Technology Services             2600-000                                         72.60                   41,110.04
                                                      Fees
 04/30/21              Metropolitan Commercial Bank   Bank and Technology Services             2600-000                                         65.88                   41,044.16
                                                      Fees


                                                                                          Page Subtotals:        $41,647.50                 $603.34
             Case 2:19-bk-10058-BKM                     Doc 326           Filed 06/24/22                    Entered 06/24/22 10:08:53                       Desc
{ } Asset Reference(s)       UST Form 101-7-TDR ( 10 /1/2010)
                                                                         Page 11 of 13                                             ! - transaction has not been cleared
                                                                    Form 2                                                                                  Exhibit 9
                                                                                                                                                            Page: 2
                                                    Cash Receipts And Disbursements Record
Case No.:              2:19-bk-10058-BKM                                      Trustee Name:                        David A. Birdsell (240206)
Case Name:             LEVINE, JOSH D.                                        Bank Name:                           Metropolitan Commercial Bank
Taxpayer ID #:         **-***1273                                             Account #:                           ******4040 Checking
For Period Ending:     05/03/2022                                             Blanket Bond (per case limit):       $27,456,481.00
                                                                              Separate Bond (if applicable):       N/A

    1            2                         3                                          4                                  5                     6                        7

  Trans.    Check or       Paid To / Received From               Description of Transaction          Uniform         Deposit             Disbursement         Account Balance
   Date      Ref. #                                                                                 Tran. Code         $                       $

 05/28/21              Metropolitan Commercial Bank          Bank and Technology Services           2600-000                                        61.39                   40,982.77
                                                             Fees
 06/30/21              Metropolitan Commercial Bank          Bank and Technology Services           2600-000                                        72.25                   40,910.52
                                                             Fees
 07/30/21              Metropolitan Commercial Bank          Bank and Technology Services           2600-000                                        65.56                   40,844.96
                                                             Fees
 08/24/21    1001      DONNA WYATT                           TRUSTEE SALE FEE                       3610-000                                        30.00                   40,814.96
 08/31/21              Metropolitan Commercial Bank          Bank and Technology Services           2600-000                                        69.82                   40,745.14
                                                             Fees
 09/30/21              Metropolitan Commercial Bank          Bank and Technology Services           2600-000                                        65.31                   40,679.83
                                                             Fees
 10/29/21              Metropolitan Commercial Bank          Bank and Technology Services           2600-000                                        63.02                   40,616.81
                                                             Fees
 11/30/21              Metropolitan Commercial Bank          Bank and Technology Services           2600-000                                        69.43                   40,547.38
                                                             Fees
 04/12/22    1002      David A. Birdsell                     Combined trustee compensation &                                                   16,370.42                    24,176.96
                                                             expense dividend payments.
                       David A. Birdsell                     Claims Distribution - Tue, 12-21-      2200-000
                                                             2021
                                                                                          $277.50
                       David A. Birdsell                     Claims Distribution - Tue, 12-21-      2100-000
                                                             2021
                                                                                     $16,092.92
 04/12/22    1003      WITTHOFT DERKSEN                      Combined dividend payments for                                                    23,826.96                      350.00
                                                             Claim #,
                       WITTHOFT DERKSEN                      Claims Distribution - Tue, 12-21-      3220-000
                                                             2021
                                                                                      $3,744.63
                       WITTHOFT DERKSEN                      Claims Distribution - Tue, 12-21-      3210-000
                                                             2021
                                                                                     $20,082.33
 04/12/22    1004      CLERK OF THE US                       Distribution payment - Dividend        2700-000                                       350.00                        0.00
                       BANKRUPTCY COURT                      paid at 100.00% of $350.00; Claim
                                                             # ; Filed: $350.00

                                               COLUMN TOTALS                                                              41,647.50             41,647.50                       $0.00
                                                      Less: Bank Transfers/CDs                                                 0.00                  0.00
                                               Subtotal                                                                   41,647.50             41,647.50
                                                      Less: Payments to Debtors                                                                      0.00

                                               NET Receipts / Disbursements                                              $41,647.50           $41,647.50




             Case 2:19-bk-10058-BKM                            Doc 326           Filed 06/24/22                  Entered 06/24/22 10:08:53                      Desc
{ } Asset Reference(s)        UST Form 101-7-TDR ( 10 /1/2010)
                                                                                Page 12 of 13                                         ! - transaction has not been cleared
                                                       Form 2                                                                  Exhibit 9
                                                                                                                               Page: 3
                                       Cash Receipts And Disbursements Record
Case No.:           2:19-bk-10058-BKM                        Trustee Name:                   David A. Birdsell (240206)
Case Name:          LEVINE, JOSH D.                          Bank Name:                      Metropolitan Commercial Bank
Taxpayer ID #:      **-***1273                               Account #:                      ******4040 Checking
For Period Ending: 05/03/2022                                Blanket Bond (per case limit): $27,456,481.00
                                                             Separate Bond (if applicable): N/A

                                       Net Receipts:              $41,647.50
                           Plus Gross Adjustments:               $778,801.33
                         Less Payments to Debtor:                      $0.00
                 Less Other Noncompensable Items:                      $0.00

                                         Net Estate:             $820,448.83




                                                                                                NET                       ACCOUNT
                                 TOTAL - ALL ACCOUNTS                     NET DEPOSITS     DISBURSEMENTS                  BALANCES
                                 ******4040 Checking                            $41,647.50         $41,647.50                     $0.00

                                                                                $41,647.50               $41,647.50                $0.00




             Case 2:19-bk-10058-BKM                    Doc 326     Filed 06/24/22       Entered 06/24/22 10:08:53                  Desc
UST Form 101-7-TDR (10 /1/2010)
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